Case 2:23-cv-11876-MAG-KGA ECF No. 22, PageID.383 Filed 05/24/24 Page 1 of 6




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

ROBERT STEPHENSON,

                                                             Case No. 23-cv-11876
       Plaintiff,

v.                                                           HON. MARK A. GOLDSMITH

UNIVERSITY OF MICHIGAN et al.,

      Defendants.
__________________________/

                       OPINION & ORDER
GRANTING DEFENDANTS’ CORRECTED PARTIAL MOTION TO DISMISS (Dkt. 10)

       Plaintiff Robert Stephenson brings this action against Defendants University of Michigan,

University of Michigan Board of Regents, the Dean of the University of Michigan’s School of

Nursing Patricia Hurn, and the Assistant Dean of Research and Scholarship for the School of

Nursing Robert Ploutz-Snyder. See Compl. (Dkt. 1). Stephenson alleges that Defendants violated

his rights by subjecting him to discriminatory and retaliatory treatment related to an investigation

into Stephenson’s alleged violation of the University’s policy on sexual and gender-based

misconduct. See id. Stephenson asserts claims under 42 U.S.C § 1983 for violations of his rights

under the Due Process and Equal Protection Clauses of the Constitution; 20 U.S.C. § 1681 et. seq.

(Title IX); and Michigan’s Elliott-Larson Civil Rights Act (ELCRA), Mich. Comp. L. § 37.2201

et seq. Before the Court is Defendants’ corrected motion for partial dismissal of Stephenson’s

complaint (Dkt. 10). For the reasons that follow, the Court grants Defendants’ motion.1




1
  Because oral argument will not aid the Court’s decisional process, the motion will be decided
based on the parties’ briefing. See E.D. Mich. LR 7.1(f)(2); Fed. R. Civ. P. 78(b). In addition to
the motion, the briefing includes Stephenson’s response (Dkt. 13) and Defendants’ reply (Dkt. 14).
                                                 1
Case 2:23-cv-11876-MAG-KGA ECF No. 22, PageID.384 Filed 05/24/24 Page 2 of 6




                                       I. BACKGROUND

       Stephenson, who is gay, is a professor at the University of Michigan’s School of Nursing.

Compl. ¶ 4. In 2022, the University’s Equity, Civil Rights, and Title IX (ECRT) office notified

Stephenson that he was under investigation for violating the University’s policy on sexual and

gender-based misconduct (SGBM) after two students complained that Stephenson had sexually

harassed them.    Id. ¶¶ 66–67.     According to Stephenson, following the completion of the

investigation against him and a hearing, a written decision issued by the University’s hearing

officer determined that Stephenson had not violated the SGBM policy with respect to either

complainant. Id. ¶ 73.

       Despite the hearing officer’s findings, Stephenson alleges that he was subjected to

discriminatory and retaliatory conduct during and after the investigation. Specifically, Stephenson

alleges that during the investigation, he was removed from his positions as director of the Center

for Sexuality and Health Disparities (CSHD) and chair of the Department of Systems, Populations

and Leadership. Id. ¶ 75. Stephenson further alleges that, during that time, Hurn threatened to

“ruin his career and reputation,” id. ¶ 76, and that Ploutz-Snyder attempted to have him removed

as a researcher on his National Institute of Health grants, id. ¶¶ 90–91.

       Stephenson alleges that, in the April 2023, he contacted the ECRT office regarding what

he describes as Hurn’s discriminatory and retaliatory actions against him. Id. ¶ 86. The next

month, Hurn informed him that the hearing officer’s decisions were reversed and remanded back

to the ECRT office for further investigation. Id. ¶ 103. Stephenson was then placed on

administrative leave during the pendency of this appeal, an action that he alleges was retaliation

for reporting Hurn to the ECRT. Id. ¶ 105. He further submits that Defendants’ treatment of him




                                                 2
Case 2:23-cv-11876-MAG-KGA ECF No. 22, PageID.385 Filed 05/24/24 Page 3 of 6




during and after the investigation amounts to intentional discrimination based on his sexual

orientation. Id. ¶¶ 134–145.

       On these allegations, Stephenson brings claims against all Defendants under 42 U.S.C. §

1983 stemming from violations of his due process and equal protection rights under the Fourteenth

Amendment, see id. ¶¶ 114–133, and claims against the University and the Board of Regents under

Title IX and the ELCRA, see id. ¶¶ 134–176.

                                         II. ANALYSIS

       The Court proceeds by first addressing Defendants’ motion for partial dismissal and next

addressing Stephenson’s alternative request for leave to file an amended complaint.

    A. Eleventh Amendment Immunity

       Defendants move under Federal Rule of Civil Procedure 12(b)(1) for dismissal of

Stephenson’s ELCRA claim for lack of subject-matter jurisdiction on the ground that the

University and the Board of Regents are immune from state-law claims under the Eleventh

Amendment. See Br. Supp. Mot. at 3.2

       “The Eleventh Amendment prohibits suits against states unless they consent to be sued or

Congress, pursuant to a valid exercise of its power, unequivocally expresses its intent to abrogate

sovereign immunity.” Ashford v. Univ. of Mich., 89 F.4th 960, 969 (6th Cir. 2024). The Sixth

Circuit has recognized that the University and the Board of Regents are state agencies and therefore




2
  A court may dismiss a claim pursuant to Rule 12(b)(1) for lack of subject-matter jurisdiction.
Moir v. Greater Cleveland Reg'l Transp. Auth., 895 F.2d 266, 269 (6th Cir. 1990). When the
defendant challenges subject-matter jurisdiction through a motion to dismiss, the plaintiff bears
the burden of establishing jurisdiction. Nichols v. Muskingum Coll., 318 F.3d 674, 677 (6th Cir.
2003).


                                                 3
Case 2:23-cv-11876-MAG-KGA ECF No. 22, PageID.386 Filed 05/24/24 Page 4 of 6




entitled to claim sovereign immunity. Id.; Est. of Ritter by Ritter v. Univ. of Mich., 851 F.2d 846,

850–851 (6th Cir. 1988).

       Stephenson concedes that the University and the Board of Regents are generally entitled to

immunity under the Eleventh Amendment. Resp. at 4. However, he argues that “[t]here is no

dispute that the State of Michigan waived its governmental immunity with regard to ELCRA

claims.” Id. at 6. In support of this position, Stephenson cites two cases from this district which

he argues stand for the proposition that Michigan has waived its Eleventh Amendment immunity

to ELCRA claims. See Resp. at 4 (citing Beny v. Univ. of Mich. Bd. of Regents, No. 22-cv-12021,

2023 WL 4409107, at *1 (E.D. Mich. July 7, 2023); Williams v. Univ. of Mich., No. 22-cv-10296,

2022 WL 16796741, at *7 (E.D. Mich. Nov. 8, 2022)). He advocates that this Court should adopt

the perspective of “countless other cases that have allowed ELCRA claims to proceed in federal

court based on supplemental jurisdiction.” Resp. at 6 (citing Hawthorne-Burdine v. Oakland

Univ., 158 F. Supp. 3d 586, 606 (E.D. Mich. 2016) and Doss v. Mich. Dep’t of Corr., No. 20-

10266, 2021 WL 2845315, at *3 (E.D. Mich. July 8, 2021)).

       Stephenson’s position is based on a misreading of case law. With respect to his argument

that Defendants have waived their Eleventh Amendment immunity, neither Williams nor Beny

stands for the proposition that the State of Michigan waived its sovereign immunity regarding

ELCRA claims. Stephenson quotes Williams as stating, “the Michigan Legislature expressly

consented to suit under the ELCRA.” Resp. at 4 (citing Williams, 2022 WL 16796741, at *7).

But this language was not in the context of discussing immunity under the Eleventh Amendment.

Rather, the court was explaining that the Michigan Legislature had consented to suit in state court

as part of a larger discussion of determining whether the plaintiff’s ELCRA claims were subject

to dismissal based on the plaintiff’s failure to comply with the notice requirements of Michigan’s



                                                 4
Case 2:23-cv-11876-MAG-KGA ECF No. 22, PageID.387 Filed 05/24/24 Page 5 of 6




Court of Claims Act, Mich. Comp. L. § 600.6431(1). See Williams, 2022 WL 16796741, at *6–

*7. Indeed, the defendants in Williams “did not raise an Eleventh Amendment immunity defense

to [the plaintiff’s] ELCRA claim,” so whether Michigan waived its Eleventh Amendment

immunity was not even an issue before the court. Id. at *8.

       Similarly, Stephenson cites Beny as stating that the “Michigan state legislature has

abrogated the State’s governmental immunity for claims brought under [the] ELCRA.” Resp. at

6 (quoting Beny, 2023 WL 4409107, at *6) (punctuation modified). Again, Stephenson is quoting

language out of context. The Beny court explicitly rejected the plaintiff’s argument that Michigan

has waived its Eleventh Amendment immunity and dismissed the plaintiff’s ELCRA claims based

on such immunity:

       [A]lthough the Michigan state legislature has abrogated the State’s governmental
       immunity for claims brought under both statutes, ELCRA and PWDCRA claims
       may be brought against Michigan only in state court. Because a suit under either
       statute is designed to bring the State into compliance with state law, Michigan’s
       constitutional immunity from suit prohibits all state-law claims filed against it in
       federal court, whether those claims are monetary or injunctive in nature. The
       defendant Board of Regents enjoys sovereign immunity from the plaintiff’s
       ELCRA and PWDCRA claims.

Beny, 2023 WL 4409107, at *6 (punctuation modified). Williams and Beny provide no support

for Stephenson’s position.

       Stephenson fares no better in his reliance on Hawthorne-Burdine and Doss—cases that

simply discuss supplemental jurisdiction in the context of ELCRA claims. In Hawthorne-Burdine,

the court declined to exercise supplemental jurisdiction over the plaintiff’s ELCRA claims because

the Court had already dismissed all claims over which it had jurisdiction. Hawthorne-Burdine,

158 F. Supp. 3d at 606. And in Doss, the court declined to remand the case to state court following

the plaintiff’s voluntary dismissal of his federal claims. Doss, 2021 WL 2845315, at *3. The court

had no occasion to confront Eleventh Amendment immunity. Stephenson’s appeals to Hawthorne-

                                                5
Case 2:23-cv-11876-MAG-KGA ECF No. 22, PageID.388 Filed 05/24/24 Page 6 of 6




Burdine and Doss fail to support the proposition that this Court has the power to exercise

supplemental jurisdiction over claims regarding which Defendants are immune under the Eleventh

Amendment.

       Contrary to Stephenson’s assertions, the law is clear: “The State of Michigan has not

consented to being sued in civil rights actions in the federal courts, . . . the ELCRA did not waive

Michigan’s Eleventh Amendment immunity from suit in federal court.” Harrison v. Mich. Dep’t

of Health & Hum. Servs., No. 22-cv-12034, 2023 WL 4237580, at *6 (E.D. Mich. June 28, 2023)

(punctuation modified). Stephenson’s ELCRA claims must be dismissed.

   B. Request for Leave to File Amended Complaint
       As alternative relief, Stephenson’s response “requests leave to amend his Complaint to

bring his ELCRA claims for money damages against the individual defendants in their personal

capacities.” Resp. at 7. Stephenson’s response is not a proper motion and will not be treated as

such. See Fed. R. Civ. P. 7(b)(1) (“A request for a court order must be made by motion.”). To the

extent Stephenson seeks leave to file an amended complaint, he must proceed by filing a proper

motion.

                                      III. CONCLUSION

       For the reasons explained above, the Court grants Defendants’ corrected partial motion to

dismiss (Dkt. 10).

       SO ORDERED.

Dated: May 24, 2024                                  s/Mark A. Goldsmith
       Detroit, Michigan                             MARK A. GOLDSMITH
                                                     United States District Judge




                                                 6
